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 8                               UNITED STATES DISTRICT COURT
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                               EASTERN DISTRICT OF CALIFORNIA
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                                           FRESNO DIVISION
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      GERALD CARLIN, JOHN RAHM, PAUL
13    ROZWADOWSKI and DIANA WOLFE,                       Case No. 1:09-CV-00430-AWI (EPG)
      individually and on behalf of themselves and all
14    others similarly situated,
                                                         CLASS ACTION
                                       Plaintiffs,
15
      v.
                                                         ORDER GRANTING PLAINTIFFS’
16                                                       REQUEST TO SEAL DOCUMENTS
      DAIRYAMERICA, INC., and CALIFORNIA                 AND FILE REDACTED VERSIONS
17    DAIRIES, INC.
                               Defendants.
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     Case 1:09-cv-00430-AWI-EPG Document 458 Filed 08/04/17 Page 2 of 2



 1                                                   ORDER

 2             This matter comes before the Court on the Plaintiffs’ Request to Seal Documents and

 3    File Redacted Versions (“Request”) pursuant to Civil Local Rules 140 and 141.

 4             Upon consideration of the Request, the papers submitted in support thereto, and good

 5    cause appearing, the Request is GRANTED.

 6             Accordingly, Plaintiffs are permitted to file redacted versions of Plaintiffs’ Supplemental

 7    Brief in Support of Motion for Sanctions as well as Exhibits F through P on the public docket,

 8    and      Plaintiffs   will   email    the   unredacted     versions    of   the    documents      to

 9    ApprovedSealed@caed.uscourts.gov for filing under seal. Only the parties’ counsel of record, the

10    Court and its staff shall have access to the unredacted documents.

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12    IT IS SO ORDERED.

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            Dated:    August 3, 2017                             /s/
14                                                        UNITED STATES MAGISTRATE JUDGE

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